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                 Supreme Court of Maryland
                                  Annapolis, MD




                 CERTIFICATE OF GOOD STANDING

STATE OF MARYLAND, ss:
      I, Gregory Hilton, Clerk of the Supreme Court of Maryland, do hereby
certify that on the fourteenth day of December, 1999,

                                Sarah E. Brannon

having first taken and subscribed the oath prescribed by the Constitution and Laws
of this State, was admitted as an attorney of said Court, is now in good standing,
and as such is entitled to practice law in any of the Courts of said State, subject to
the Rules of Court. This certificate of good standing is valid through the
sixteenth day of April, 2024.


                                        In Testimony Whereof, I have hereunto
                                        set my hand as Clerk, and affixed the Seal
                                        of the Supreme Court of Maryland, this
                                        sixteenth day of February, 2024.




                                                 Clerk of the Supreme Court of Maryland
